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                                             May 13, 2020

VIA ECF AND FIRST-CLASS MAIL
Honorable Kevin McNulty, U.S.D.J.
U.S. District Court for the District of New Jersey
Martin Luther King Jr. Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

        Re:      Zipit Wireless, Inc. v. LG Electronics U.S.A, Inc.
                 Civil Action No. 2:20-cv-01494 (KM-JBC)

Dear Judge McNulty:

         This firm represents Defendant LG Electronics U.S.A, Inc. in the above-referenced
matter. Enclosed for the Court’s consideration is a Stipulation and Proposed Order Staying
Litigation. If the enclosed stipulation is acceptable to the Court, we respectfully request that Your
Honor endorse it and have it entered on the docket.

      As always, we thank the Court for its attention to this matter and are available should Your
Honor or Your Honor’s staff have any questions or need anything further.



                                              Respectfully submitted,

                                              s/Liza M. Walsh

                                              Liza M. Walsh

Encl.
cc :    All Counsel of Record (via ECF and E-mail)
